On October 3, 1995, appellee Jay R. Vernon, pled guilty to one county of rape, in violation of R.C. 2907.02. On November 2, 1995, the Lake County Court of Common Pleas sentenced appellee to serve an indefinite term of incarceration of six to twenty-five years. Having pleaded guilty to a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court,sua sponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v.Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed.
                               ------------------------ JUDGE WILLIAM M. O'NEILL
FORD, PT., NADER, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.